66 F.3d 336
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.James Leroy KEMMISH, Defendant-Appellant.
    No. 94-50621.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Aug. 7, 1995.Decided Sept. 12, 1995.
    
      Before:  THOMPSON, LEAVY, and TROTT, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      James Leroy Kemmish appeals from the district court's denial of his motion to dismiss the indictment, arguing that a prior civil administrative forfeiture proceeding bars his subsequent criminal prosecution on double jeopardy grounds.  Double jeopardy did not attach to the instant prosecution, because there was no finality to the prior civil forfeiture proceeding, see United States v. Sanchez-Cobarruvias, --- F.3d ----, ----, No. 94-50581, slip op. ----, ---- (9th Cir.  Sept. 12, 1995), and Kemmish never filed a claim to any property in that proceeding, anyway.  See United States v. Cretacci, --- F.3d ----, ----, No. 94-10235, slip op. 9565, 9568 (9th Cir.  Aug. 4, 1995).
    
    
      3
      AFFIRMED.
    
    
      
        *
         This disposition is not suitable for publication and may not be cited to or by the courts of this Circuit except as provided by 9th Cir.R. 36-3
      
    
    